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14
                                UNITED STATES DISTRICT COURT
15
                           SOUTHERN DISTRICT OF CALIFORNIA
16
       UNITED STATES OF AMERICA,                   Case No.: 18cr4683-GPC
17
                   Plaintiff,                      UNITED STATES’
18                                                 SUPPLEMENTAL LEGAL
             v.                                    AUTHORITY IN SUPPORT OF
19                                                 MOTION IN LIMINE TO
       JACOB BYCHAK (1),                           EXCLUDE EVIDENCE OF
20     MARK MANOOGIAN (2),                         IMMIGRATION STATUS
21     ABDUL MOHAMMED QAYYUM (3), and
       PETR PACAS (4),
22
                   Defendants.
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25
26          COMES NOW the plaintiff, United States of America, by and through its counsel,
27 Randy S. Grossman, United States Attorney, and Assistant United States Attorneys
28 Melanie K. Pierson, Sabrina L. Fève, and Computer Crime and Intellectual Property
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 1 Section Senior Counsel Candy Heath, and hereby files its Supplemental Legal Authority
 2 in Support of its Motion in Limine to Exclude Evidence of Immigration Status.
 3                                                          I.
 4                                                     INTRODUCTION
 5        Motions in limine were due to be filed in this case on March 24, 2022. On that date,
 6 the United States filed, among others, a motion to exclude evidence of the immigration
 7 status of the defendants. On March 28, 2022, four days after motions were filed, the Ninth
 8 Circuit issued its opinion in United States v. Kvashuk, No. 20-30251. _ F.4th _ (9th
 9 Cir.2022), which directly addressed the issue regarding the exclusion of evidence of
10 immigration status raised in the Government’s motion in limine.
11                                                          II.
12                                          POINTS AND AUTHORITIES
13            Defendant Kvashuk was a Ukrainian who was convicted of a variety of fraud
14 charges, including mail fraud, wire fraud, and identity theft in relation to crimes committed
15 during his employment at Microsoft. The defendant stole $8.2 million of tokens for digital
16 Microsoft gift cards, using internal Microsoft test accounts. The defendant exchanged some
17 of the gift cards for bitcoin (cryptocurrency). The defendant, who had filed for asylum in
18 the United States, argued that he possessed the bitcoin because his father sent him bitcoin
19 instead of cash to avoid detection by the Ukrainian government.
20       The government moved in limine to exclude evidence of the Kvashuk’s immigration
21 status and asylum claim under Rule 403 of the Federal Rules of Evidence. The district
22 judge granted the motion, but allowed the defendant to testify that he is “from the Ukraine”
23 and that he transferred the bitcoin to conceal the transfer from the Ukrainian government.
24 The Ninth Circuit found that the “district court did not abuse it discretion in concluding,
25 prior to trial, that any additional probative value in disclosing Kvashuk’s immigration
26 status ‘would be substantially outweighed by the danger of unfair prejudice’ from the jury’s
27 knowledge that ‘Kvashuk could suffer immigration consequences if convicted of the
28 chargers.’” Kvashuk at 25. The same is true in this case.
      Government’s Supplemental Legal Authority re:         2         18cr4683-GPC
      Motion In Limine to Exclude Immigration Status
     Case 3:18-cr-04683-GPC Document 380 Filed 04/04/22 PageID.5416 Page 3 of 3




 1            Like the defendant in Kvashuk, the defendants here should be permitted to introduce
 2 evidence of their country of origin, but should not be permitted to introduce evidence of
 3 their immigration status. Unlike Kvashuk, the defendants in this case are in a far weaker
 4 position to seek to introduce evidence of their immigration status, as they have posited no
 5 reason the evidence of their immigration status is probative of anything relevant to their
 6 defense. The absent probative value of such evidence is “substantially outweighed by the
 7 danger of unfair prejudice’ from the jury’s knowledge that [defendants] could suffer
 8 immigration consequences if convicted of the chargers.” Id. Accordingly, evidence of the
 9 defendants’ immigration status should be excluded.
10                                                          III.
11                                                     CONCLUSION
12            Based on this Ninth Circuit authority, and the authority in the Government’s original
13 motion in limine, this court should exclude evidence of the defendants’ immigration status.
14
              DATED: April 4, 2022
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                                                        Respectfully submitted,
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19                                                      /s/Melanie K. Pierson
                                                        Assistant United States Attorney
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21                                                      /s/Sabrina L. Fève
                                                        Assistant United States Attorney
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23                                                      /s/Candy Heath
24                                                      Senior Counsel
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25                                                      Department of Justice, Criminal Division
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      Government’s Supplemental Legal Authority re:          3                    18cr4683-GPC
      Motion In Limine to Exclude Immigration Status
